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 8                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 9                                         AT TACOMA

10    UNITED STATES OF AMERICA,
11                  Plaintiff,
                                                              Case No. CR94-5246FDB
12           v.
                                                              ORDER FINDING MOOT MOTION
13    RODNEY H.S. KIM,                                        TO EXPEDITE PROCESS
14                  Defendant.
15
            Defendant moved for an order expediting the process as to his Motion for Reduction of
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     Sentence, which has now been denied. Accordingly,
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            IT IS ORDERED: Defendant Kim’s Motion for Order Expediting Process [Dkt. # 565] is
18
     found to be MOOT.
19
            DATED this 12th day of September, 2007.



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22                                       FRANKLIN D. BURGESS
                                         UNITED STATES DISTRICT JUDGE
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26   ORDER - 1
